       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 1 of 14




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                   No. 1:16-cv-00211-RMC
               Plaintiff,

              v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

              Defendants.


                        PLAINTIFF’S STATEMENT OF MATERIAL
                           FACTS NOT IN GENUINE DISPUTE

       In support of its Cross-Motion for Partial Summary Judgment, Plaintiff states the

following material facts not in dispute:

       1.      Plaintiff’s FOIA request to the United States Department of Homeland Security’s

(“DHS”) Office of Civil Rights and Civil Liberties (“CRCL”) dated March 14, 2014 requested,

inter alia, “all reports produced related to the Secure Communities Statistical Monitoring,

including all draft reports and reports produced by contracted statistician(s).” See Declaration of

Seth A. Watkins in Support of Plaintiff’s Motion for Partial Summary Judgment (hereinafter,

“Watkins Decl.”), Exhibit 1 at 1.

       2.      DHS first indicated to Plaintiff on January 12, 2017, in a Vaughn index, that “[n]o

final report related to Secure Communities statistical monitoring was created, approved, or

executed by the [Office for Civil Rights and Civil Liberties (CRCL)] Officer or submitted to the

Secretary of DHS or member of senior DHS leadership.” See Watkins Decl., Exhibit 2 at 1.




                                               -1-
       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 2 of 14




       3.      Prior to DHS’s January 12, 2017 Vaughn index in this action, DHS had not

acknowledged in a publicly available record that no final reports existed related to Secure

Communities statistical monitoring.

       4.      DHS has provided Plaintiff with a total of five Vaughn indexes covering withheld

drafts of Secure Communities statistical monitoring report documents:

           an index served on March 31, 2017 covering two (2) draft reports, over a time frame
            that at least includes May 13, 2011, totaling 8 pages;
           an index served on January 12, 2017 covering twenty-eight (28) iterations of a draft
            report, over a time frame that at least includes May 18, 2011 through July 18, 2011,
            totaling 1190 pages;
           an index also served on March 31, 2017 covering seven (7) iterations of a draft report,
            over a time frame that at least includes July 2012, totaling 123 pages;
           an index also served on March 31, 2017 covering six (6) draft “comment matrices,”
            over a time frame that at least includes June-July 2013, totaling 65 pages, which
            were completely redacted other than the headings of the tables that formed the
            comment matrices; and
           an index also served on March 31, 2017 covering forty (40) iterations of a draft
            report, over a time frame that at least includes November 2012 through August 2013,
            totaling 1127 pages.

See ECF Nos. 25-1, 29-1, 29-2, 29-3, & 29-4. Thus, a total of eighty-three (83) draft report

documents have been withheld, all under the deliberative process privilege, 5 U.S.C. § 552(b)(5).

Id.

       5.      Plaintiff’s FOIA request to DHS’s CRCL dated November 4, 2016 requested,

inter alia, “all reports produced related to [Priority Enforcement Program (“PEP”)] statistical

monitoring, including all draft reports, all reports produced by contracted statistician(s), and all

statistical and data monitoring reports.” See Watkins Decl., Exhibit 3 at 2.

       6.      DHS first indicated to Plaintiff on January 12, 2017, in a Vaughn index, that “[n]o

reports, in draft or final form, were created relating to PEP statistical monitoring.” See Watkins

Decl., Exhibit 2 at 1.



                                               -2-
       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 3 of 14




       7.      Prior to DHS’s January 12, 2017 Vaughn index in this action, DHS had not

acknowledged in a publicly available record that no final reports existed related to PEP statistical

monitoring.

       8.      Secure Communities was an immigration enforcement program administered by

U.S. Immigration and Customs Enforcement (“ICE”) from 2008 to 2014; it was replaced by the

Priority Enforcement Program (“PEP”) in 2015. See Watkins Decl., Exhibit 4, available at

https://www.ice.gov/secure-communities.

       9.      The web site of ICE discloses:

               When state and local law enforcement officers arrest and book
               someone into custody for a violation of a criminal offense, they
               generally fingerprint the person. After fingerprints are taken, the
               state and local authorities submit the fingerprints to the FBI. The
               FBI takes these fingerprints and runs them through its database of
               criminal records and sends the state and local authorities a record
               of the person’s criminal history.

See Watkins Decl., Exhibit 5 at 4, available at https://www.ice.gov/secure-communities#tab1.

       10.     The web site of ICE further discloses:

               Under Secure Communities, DHS receive[d] these fingerprints
               from the FBI, so that ICE [could] determine if that person [was]
               also subject to removal (deportation). . . .

               If the person ha[d] been previously encountered and fingerprinted
               by an immigration official and there [was] a digitized record, then
               the immigration database [would] register a ‘match.’ ICE then
               review[ed] other databases to determine whether the person [was]
               here illegally or [was] otherwise removable.

               In cases where the person appear[ed] from these checks to be
               removable, ICE may [have] issue[d] a detainer on the person,
               requesting that the state or local jail facility hold the individual no
               more than an extra 48 hours (excluding weekends and holidays) to
               allow for an interview of the person. Following the interview, ICE
               decide[d] whether to seek the person’s removal.

               In making these decisions, ICE consider[d] a number of factors,
               including the person’s criminal history, immigration history (such


                                                -3-
       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 4 of 14




                as whether the person was previously deported or ha[d] an
                outstanding removal order from an immigration judge), family ties,
                duration of stay in the U.S., significant medical issues, and other
                circumstances.

Id.

        11.     A memorandum to all ICE and CRCL Personnel from Margo Schlanger, Officer

for Civil Rights and Civil Liberties, DHS and Gary Mead, Executive Associate Director, ICE,

concerning “Secure Communities Complaints Involving State or Local Law Enforcement

Agencies,” dated June 14, 2011, set out how the government would “address civil rights

complaints” including “statistical anomalies (‘yellow flags’) recognized through standing

quarterly reviews of Secure Communities data.” See Watkins Decl., Exhibit 6 at 1-2.

        12.     A Task Force on Secure Communities also was created in June 2011 at the

request of the Secretary of Homeland Security and was asked to consider how ICE might

improve Secure Communities. See Watkins Decl., Exhibit 7 at 2, ICE Office of the Director,

PROTECTING THE HOMELAND: ICE RESPONSE TO THE TASK FORCE ON SECURE COMMUNITIES

FINDINGS AND RECOMMENDATIONS (Apr. 27, 2012) (hereinafter, “ICE Response to the Task

Force”), available at http://www.dhs.gov/xlibrary/assets/hsac/ice-response-to-task-force-on-

secure-communities.pdf. Specifically, the Task Force was asked how to address concerns that

Secure Communities impacted community policing and involved the possibility of racial

profiling. Id. The Task Force also was asked to address “how to best focus on individuals who

pose a true public safety or national security threat.” Id.

        13.     The ICE Response to the Task Force disclosed that the Task Force recommended

that “DHS must strengthen accountability mechanisms, including remedies for and prevention of

civil rights and civil liberties violations.” Id. at 8.




                                                   -4-
        Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 5 of 14




        14.   The ICE Response to the Task Force disclosed:

              . . . [I]n order to identify jurisdictions that may be making
              improper arrests that could result in identification of aliens through
              Secure Communities, ICE and CRCL have retained a leading
              criminologist/statistician who is examining data for each
              jurisdiction where Secure Communities is activated, comparing
              data for aliens identified by the program to relevant arrest-rate
              data, and identifying any indications of racial profiling (A
              description of the method being used is also available on the
              ICE.gov site at http://www.ice.gov/doclib/securecommunities/pdf/
              statisticalmonitoring.pdf). Statistical outliers will be subject to an
              in-depth analysis, and DHS and ICE will take appropriate steps to
              resolve any issues. This analysis will take place four times per
              year to ensure consistent monitoring, and the assessments will be
              shared quarterly with the Department of Justice (DOJ). The data
              review process initiated with data from the third quarter of fiscal
              year 2011 (April 1-June 30, 2011), and is continuing on a rolling
              basis, so that outliers identified in one quarter are subject to in-
              depth analysis as the statistical analysis is conducted on the next
              quarter’s data. CRCL and ICE expect to release further information
              on the results of the analysis on a periodic basis once investigation
              of apparent jurisdiction-specific problems is complete.

Id. at 9.

        15.   With respect to the statistical monitoring, DHS stated in a document entitled

SECURE COMMUNITIES: STATISTICAL MONITORING:

              Each quarter, ICE and CRCL, with the assistance of an outside
              expert statistician, calculate statistics based on fingerprint
              submissions, alien identifications, and underlying demographic and
              crime data to identify jurisdictions whose arrest patterns appear
              unusual or anomalous. A statistical anomaly does not conclusively
              determine that the jurisdiction is making inappropriate or unlawful
              arrests. Rather, the statistics aim to identify a set of jurisdictions
              for additional analysis.

              The technical details are available [at this hyperlink], but the
              statistics are fairly straightforward. First, for each county where
              Secure Communities has been activated, we compare the
              percentage of all alien arrestee fingerprints that match an
              immigration database record to the percentage of that county’s
              population that (based on Census Bureau data) was born abroad.
              Second, we compare the number of arrested aliens with
              immigration records to the overall crime data for the county (as


                                              -5-
       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 6 of 14




                   surveyed by the FBI) multiplied by the percentage of the county’s
                   population that was born abroad. And third, we compare the
                   incidence of less-serious criminal arrests among the identified alien
                   group with the same incidence in the overall crime data. For each
                   of these metrics, a particularly high score could result from
                   unusual or skewed police attention to crimes committed by aliens,
                   or it could instead result from a variety of other circumstances.
                   Using these calculations, CRCL produces a set of approximately
                   two dozen of the highest-ranking jurisdictions for further analysis,
                   each quarter.

See Watkins Decl., Exhibit 8, SECURE COMMUNITIES: STATISTICAL MONITORING, (hereinafter,

“DHS Statistical Monitoring Document 1”) U.S. Dep’t of Homeland Security (Nov. 16, 2011),

available         at      https://www.ice.gov/doclib/secure-communities/pdf/statisticalmonitoring.pdf

(indicating a file name “statisticalmonitoring.pdf”).

       16.         DHS also produced a second document entitled SECURE COMMUNITIES:

STATISTICAL MONITORING (hereinafter, “DHS Statistical Monitoring Document 2”) which also

indicates a date of “last revision” of November 16, 2011. See Watkins Decl., Exhibit 9, SECURE

COMMUNITIES: STATISTICAL MONITORING, Dep’t of Homeland Security (Nov. 16, 2011),

available    at        https://web.archive.org/web/20121007101300/http://www.ice.gov/doclib/secure-

communities/pdf/sc-statistical-monitoring.pdf         (indicating   a   file   name        “sc-statistical-

monitoring.pdf).

       17.         The DHS Statistical Monitoring Document 2 was made publicly available.

       18.         A     hyperlink   (http://www.ice.gov/doclib/secure-communities/pdf/sc-statistical-

monitoring.pdf) to the DHS Statistical Monitoring Document 2 was provided in the DHS

Statistical Monitoring Document 1 under the heading “1. Statistical monitoring” at the last of the

words “The technical details are available here.” See Watkins Decl., Exhibit 8. The DHS

Statistical Monitoring Document 2 is no longer available at that hyperlink, but is still available

on the internet at https://web.archive.org/web/20121007101300/http://www.ice.gov/doclib/



                                                   -6-
       Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 7 of 14




secure-communities/pdf/sc-statistical-monitoring.pdf. See Watkins Decl, Exhibit 9. The file

name in the aforementioned hyperlink in the DHS Statistical Monitoring Document 2,

sc-statistical-monitoring.pdf, is the same as the file name available from the aforementioned web

address as part of https://web.archive.org.

       19.     The DHS Statistical Monitoring Document 2 states that “[i]n June 2011 ICE

Director John Morton and DHS Officer for Civil Rights and Civil Liberties Margo Schlanger

announced DHS’s plan for a quarterly review of Secure Communities-related statistics.” Id. at 1.

       20.     The DHS Statistical Monitoring Document 2 states that “[t]he statistical metrics

that have been designed for this initiative aim to identify a set of jurisdictions for additional

analysis, based on the limited available information.” Id.

       21.     The statistical metrics identified in the DHS Statistical Monitoring Document 2

for the monitoring include: (1) a “foreign-born arrestee comparison” which sought to identify

“the jurisdictions where aliens appear to constitute a significantly greater fraction of the arrested

population than they do of the general population”; (2) a “foreign-born crime comparison” which

sought to identify “[p]atterns showing aliens are arrested at a higher rate for minor crimes,

relative to their proportion within the population and the underlying crime incidence”; and (3) an

“identified alien crime severity comparison” which sought to identify where “enforcement

among aliens is particularly concentrated on minor crimes—arrests for which are more often (but

not always) discretionary, and therefore the areas in which bias might occur.” Id. at 2-6.

       22.     With respect to a “foreign-born arrestee comparison,” the DHS Statistical

Monitoring Document 2 discloses:

               Compares IDENT matches as a portion of all fingerprint
               submissions with foreign-born proportion of population

               Secure Communities’ use of IDENT/IAFIS interoperability
               examines individuals whom IDENT identifies as aliens—“alien


                                                -7-
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 8 of 14




              IDENT matches.” IDENT records of known U.S. citizens are
              disregarded by Secure Communities.

              The first data metric compares the fraction of a county’s
              arrestees who are alien [Automated Biometric Identification
              System (IDENT)] matches to the fraction of the county’s
              population that is foreign-born, as determined by the [American
              Community Survey (ACS)]. We then rank jurisdictions by the
              extent to which the rate of alien IDENT matches exceeds the
              foreign-born population.




       23.    With respect to the “foreign-born arrestee comparison,” the DHS Statistical

Monitoring Document 2 further discloses the limitations of this metric:

              This metric has four important limitations, the first two of which
              we are working to address across all jurisdictions, and the last two
              of which can be taken account of in followup analysis:

              1.      Sometimes individuals who are arrested and booked are
              fingerprinted more than once at different points in the criminal
              justice process. The rate at which individuals are fingerprinted
              multiple times in the process-and accordingly appear more than
              once in our data set-varies from place to place (although early
              review indicates that the variation is small), and could affect the
              ratio of matches to submissions in particular jurisdictions. We are
              investigating this duplication issue and may in the future adjust the
              metric to account for variations in duplication rates between
              counties. (The second metric, described below, is duplication-
              adjusted, which minimizes the impact of this data imperfection.)

              2.      IDENT does not cover the foreign-born population at a
              uniform rate across jurisdictions. Persons who have entered
              without inspection (as by illegally crossing the border between
              ports of entry), and have no prior encounter with federal
              immigration agencies, will generally not be in IDENT.
              Communities where such persons make up a higher percentage of
              aliens will have a lower IDENT match rate, relative to the total
              foreign-born population, than will communities where most
              foreign-born persons, including illegal aliens, entered after
              inspection (such as by overstaying after expiration of a visa). ICE
              is working to better understand variation in IDENT coverage of the
              foreign-born population.


                                              -8-
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 9 of 14




             3.      In some jurisdictions, a substantial percentage of arrests
             may be individuals who reside outside the jurisdiction. These
             could include low-population jurisdictions where many arrests
             involve vehicles on a major thruway, urban jurisdictions where a
             significant fraction of arrestees live in adjacent jurisdictions but
             travel back and forth, or other patterns. A significant mismatch
             between the offender and resident populations could impact the
             metric, irrespective of particular policing practices, as a result of
             the comparison to the foreign-born resident population of the
             jurisdiction.

             4.     This metric could be skewed in jurisdictions that
             experienced a significant recent change in the foreign-born
             population that was not yet captured by the latest available ACS
             data.

      24.    With respect to a “foreign-born crime comparison,” the DHS Statistical

Monitoring Document 2 discloses:

             Compares alien arrest patterns to underlying crime rates

             Once a fingerprint submission is identified as an alien IDENT
             match, ICE’s Law Enforcement Support Center (LESC) reviews
             additional databases to determine the individual’s criminal history,
             for purposes of resource prioritization.        The LESC flags
             individuals who have a prior confirmed conviction for an
             aggravated felony or are known to have just been arrested for an
             aggravated felony. (“Aggravated felony” is a term of art in
             immigration law.[FN1]) We utilize the LESC’s limited separation
             of aggravated felonies from other felonies and misdemeanors for
             the second data metric; those aliens who have no known prior
             conviction for, or current arrest for, an aggravated felony are
             designated “LESC L2&3.”

                    [FN1] See 8 U.S.C. § 1101(a)(43) (defining “aggravated
                    felony” to include a wide range of violent and non-violent
                    crimes).

             The second data metric compares the number of IDENT-
             matched aliens arrested for non-aggravated felonies and
             misdemeanors (and with no prior conviction for an aggravated
             felony) to the jurisdiction’s overall rate of such arrests,
             adjusted for the percentage of the jurisdiction’s population
             that is foreign-born. Patterns showing aliens are arrested at a
             high rate for minor crimes, relative to their proportion within the



                                             -9-
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 10 of 14




              population and the underlying crime incidence may warrant further
              analysis.




       25.    With respect to a “foreign-born crime comparison,” the DHS Statistical

Monitoring Document 2 further discloses the limitations of this metric:

              This metric has five important limitations; again, we are taking
              each of these into account:

              1.      Although for this metric, we attempt to control for the
              duplication problem described as limitation (1) in the discussion of
              the first metric above, that ameliorates but does not eliminate
              duplication as an issue. Where possible, we reduce the duplication
              problem for the Foreign Born Crime Comparison by adjusting each
              jurisdiction’s LESC L2&3 number by a duplication multiple
              (calculated by examining all of the IDENT matches in that
              jurisdiction in a nine-month period to identify multiple
              submissions[FN2]). Most jurisdictions have relatively similar
              duplication rates, so this adjustment materially affects the relative
              order of only a small fraction of jurisdictions.

                      [FN2] The nine-month window for determining when
                      multiple fingerprint submissions are likely to have arisen
                      from a single arrest rather than multiple arrests of the same
                      individual was chosen as a reasonable assumption
                      regarding the length of an arrest cycle. While a different
                      time frame might yield somewhat different duplication
                      results, the range of values is sufficiently small that we
                      believe that the choice of de-duplication interval is not a
                      significant factor in the rankings on this metric.

              The duplication rate cannot be calculated for some jurisdictions for
              technical reasons related to the format in which they submit
              fingerprints to FBI (“National Fingerprint File” (NFF) states). For
              those jurisdictions, we adjust by the mean duplication rate from
              similarly-sized counties.

              2.       The mobile-population issue, described as limitation (3) of
              the first metric above.




                                              - 10 -
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 11 of 14




              3.      Aligning underlying crime data with the LESC’s separation
              of aggravated felonies from other crimes is imperfect, as
              “aggravated felony” is not a category used by the UCR. Many
              offenses tracked by the UCR may or may not qualify as aggravated
              felonies in particular circumstances, but this metric necessarily
              makes a categorical distinction among UCR crimes.[FN3]

                     [FN3] UCR categories DRGSALE, MURDER, RAPE,
                     AGASSLT, ARSON, BURGLRY, ROBBERY, EMBEZL,
                     and WEAPONS are mapped as aggravated felonies, and all
                     other categories to other crimes.

              4.      Not all counties participate in the VCR, and so may not
              have comparable underlying crime rates for us to review; we use
              other arrest data, where it is available and comparable to UCR, but
              some jurisdictions cannot be reviewed with this comparison.

              5.       The most significant limitation results from LESC’s
              operational goal of responding to each Secure Communities
              inquiry within four hours, and the fact that the data the LESC
              receives directly from IDENT/IAFIS interoperability do not
              include any information on the crime for which the individual was
              arrested and fingerprinted. While the LESC attempts to obtain
              both prior criminal history and information on the instant arrest, its
              ability to obtain instant-arrest information in its limited window of
              time is highly constrained. As a result, some alien IDENT matches
              that result from an arrest for an aggravated felony are not
              categorized as Level 1 leads by the LESC (though ICE field agents
              escalate a case's priority once they obtain information on an
              aggravated felony arrest). And, conversely, some aliens are
              classified as Level 1 leads by LESC not because of their instant
              arrest, but because of a known prior conviction for an aggravated
              felony. ICE and the FBI are working on advanced software and
              data-flow procedures that will eventually enable the LESC to have
              closer to real-time information on the severity of instant arrests,
              but until that technology is available-in a few years-LESC data is
              of real but limited value in determining the kinds of arrests law
              enforcement agencies are making. ICE has, however, undertaken a
              short-term study to better estimate the proportion of aliens
              categorized as LESC L1 on each applicable basis. When that study
              is complete, we may be able to improve this metric.

      26.     With respect to an “identified alien crime severity comparison,” the DHS

Statistical Monitoring Document 2 discloses:




                                               - 11 -
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 12 of 14




               Compares the severity of offenses among IDENT-identified
               arrested aliens with the severity among the entire population of
               arrestees

               The third metric compares the relative incidence of lesser crimes as
               a fraction of all crimes among the general population and the alien
               population. Like the second metric, the third metric utilizes the
               LESC’s separation of alien IDENT matches with immediate arrests
               for, or readily available confirmed convictions for, aggravated
               felonies, from the other alien IDENT matches.

               We compare the ratio of less-serious crimes to all arrests in the
               IDENT matches to the comparable ratio in general crime data.




       27.     With respect to an “identified alien crime severity comparison,” the DHS

Statistical Monitoring Document 2 further discloses the limitations of this metric:

               . . . If a county has a high rank on this metric, it could suggest that
               enforcement among aliens is particularly concentrated on minor
               crimes-arrests for which are more often (but not always)
               discretionary, and therefore the areas in which bias might occur.
               Again, however, there are many reasons for such a result, and the
               purpose of this tool is to identify jurisdictions for further analysis.

               The formula used for this comparison has the advantage that it
               should not be affected by duplicate submissions of fingerprints at
               various points in the criminal justice process. Otherwise, however,
               it shares the limitations discussed for the second metric. Moreover,
               because of its sensitivity to small numbers, we only calculate this
               number for jurisdictions with at least 5 IDENT matches in the
               quarter. This metric is principally used to rank jurisdictions that
               have been identified through one of the prior two metrics; a
               jurisdiction that ranks highly only on this metric is unlikely to be a
               primary focus for further analysis at this time.

       28.     The DHS Statistical Monitoring Document 2 states:

               It is important to remember that ranking jurisdictions, which
               focuses on the differences among them, should compensate for
               some of the data issues described above. In addition, the
               monitoring we intend is not akin to an indictment or other


                                               - 12 -
      Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 13 of 14




              declaration of wrongdoing but rather simply a nomination for
              additional analysis. To date, ICE and CRCL have been through
              two quarters of data. We used data from the second quarter of FY
              2011 to refine the metrics; the third quarter of FY 2011 allowed the
              first use of the statistical monitoring methodology. We have begun
              follow-up steps (explained in section B below).

       29.    The DHS Statistical Monitoring Document 2 provides tables with sample Secure

Communities statistical monitoring data as well as sample calculations using the three Secure

Communities monitoring metrics of “foreign-born arrestee comparison,” “foreign-born crime

comparison,” and “identified alien crime severity comparison”:

              The data and metrics are contained in a flat spreadsheet with one
              record per jurisdiction (county or county-equivalent). The sample
              data below illustrate the fields involved in the monitoring metrics
              described in this document. (The database also contains additional
              information on ICE activity.)




                                            * * *

              We can then compute the metrics:




                                             - 13 -
     Case 1:16-cv-00211-RMC Document 32-11 Filed 05/12/17 Page 14 of 14




Dated: May 12, 2017          Respectfully submitted,


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                                     - 14 -
